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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 DAVID J. BOSHEA,
      Plaintiff,

        v.                                              Civil No. ELH-21-309

 COMPASS MARKETING, INC.,
     Defendant.


                                           ORDER

       Upon consideration of the Motion for Extension to File Proposed Joint Pretrial Order, Voir

Dire, Jury Instructions, and Verdict Sheet (ECF 306), it is this ____ day of March 2025, by the

United State District Court for the District of Maryland, ORDERED:

       The Motion is GRANTED, and the Parties shall file their Proposed Joint Pretrial Order;

Voir Dire; Jury Instructions; and Verdict Sheet; on or before March 17, 2025 at 5:00 PM.




                                                    _______________________________
                                                    Ellen Lipton Hollander
                                                    United States District Judge
